12/18/23, 6:41 PM       Case 1:23-cv-03799-JEB Document     1-2
                                                 The Daily Wire Mail Filed    12/21/23
                                                                     - Daily Wire CRS FOIA Page 1 of 1



                                                                                                      Luke Rosiak <                        >



  Daily Wire CRS FOIA
  Luke Rosiak <lrosiak@dailywire.com>                                                                            Mon, Oct 23, 2023 at 5:00 PM
  To: crs.foia@usdoj.gov

    Hi Melody,

    I request, under the FOIA, documents sufficient to show

             1. All facilitations, mediations, training, and consultations conducted by CRS since 2020.

             2. The date, location, party, and topic of each facilitation, mediation, training, or consultation, as well as any other
             data fields that are readily available for each.

             3. In the event that the Department is unable to fulfill the request above, I request documents sufficient to show the
             number of facilitations, mediations, trainings, and consultations conducted by CRS since 2020, broken down by
             month.

    This is not intended to be a voluminous or complex request so I am happy to work with you to refine it if you are not sure
    what records would fit. I understand from CRS’ website that those are its four main activities, and I am sure you keep track
    in some database or other. I just want to get a sense of who CRS is working with, where, and on what topics at a top-line
    level.

    I request a media fee waiver as I am a full-time reporter for The Daily Wire and make this request in the public interest for
    the purpose of distilling and disseminating information. I would like the documents digitally by email. I also request
    expedited processing of this request, as the matter is one of widespread and exceptional media interest and I am primarily
    engaged in the dissemination of information to the public.

    If it would expedite production of documents, I consent to production of responsive materials on a rolling basis.

    Thank you,
    Luke Rosiak




https://mail.google.com/mail/u/0/?ik=cbe884cf19&view=pt&search=all&permmsgid=msg-a:r1780275079680925664&simpl=msg-a:r1780275079680925664    1/1
